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(d) Documents providing information or incentives designed to lessen the
prices that PBMs paid for brand name drugs, and/or to conceal those prices or the AWP
Scheme alleged here;

(e) Written communications, including checks, relating to rebates, kickbacks
or other financial inducements paid to PBMs to persuade them to advocate one
Defendant Drug Manufacturers’ brand name drug over a drug manufactured by a
competitor;

(f) Written and oral communications with U.S. Government agencies and
private insurers that fraudulently misrepresented what the AWPs were, or that were
intended to deter investigations into the true nature of the AWPs or to forestall changes
to reimbursement based on something other than AWPs;

(g) Written and oral communications with health insurers and patients,
including Plaintiffs and the members of Class 2, inducing payments for the drugs that
were made in reliance on AWPs; and

(h) Receipts of money on tens of thousands of occasions through the U.S.
mails and interstate wire facilities — the wrongful proceeds of the Defendant Drug
Manufacturers’ AWP Scheme.

(i) In addition to the above-referenced RICO predicate acts, Defendants’
corporate headquarters have communicated through use of the U.S. mails and by
interstate wire facilities with their various local headquarters or divisions, in furtherance
of the AWP Scheme. These mails include some of the documents referenced in this
Complaint.

Conduct of the RICO Enterprises’ Affairs and RICO Conspiracy

438. During the Class Period, the Defendant Drug Manufacturers and the PBMs have

exerted control over their particular PBM Enterprise (as identified in J 431(a)-(p)) and in

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violation of Section 1962(c) of RICO have conducted or participated in the conduct of the
affairs of that RICO enterprise, directly or indirectly, in the following ways:

(a) Each Defendant Drug Manufacturer has directly controlled the price for
its brand name drugs, which determines the amount of the PBMs’ compensation;

(b) Each Defendant Drug Manufacturer has directly controlled the AWPs
that are reported by the Publishers;

(c) Each PBM has directly controlled the price at which pharmacies are
reimbursed by the PBM;

(d) Each Defendant Drug Manufacturer has directly controlled the creation
and distribution of marketing, sales, and other materials used to inform PBMs
nationwide of the profit potential of its brand name drugs;

(e) Each Defendant Drug Manufacturer has relied upon its employees and
agents to promote the AWP Scheme through the U.S. mails, through interstate wire
facilities, and through direct contacts with providers and the PBMs; and

(f) Each Defendant Drug Manufacturer and each PBM has controlled and
participated in the affairs of its respective PBM Enterprise by providing or receiving
rebates or other inducements to place a certain Defendant Drug Manufacturer’s brand
name drugs on a PBM formulary or advocate the use of a certain brand name drug.
439. Each of the PBM Enterprises identified in 4 431(a)-(p) of this Complaint had a

hierarchical decision-making structure headed by the respective Defendant Drug Manufacturer.
440. In violation of Section 1962(c) of RICO, each of the Defendant Drug
Manufacturers and the PBMs have conducted the affairs of each of the Third-Party Payor PBM
Enterprises with which they dealt by reporting fraudulently inflated AWPs for brand name
drugs and by submitting false and misleading invoices to Plaintiffs, thereby inducing Plaintiffs

and the Class 2 members to pay inflated amounts for brand name drugs.

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Pattern of Racketeering Activity

441. Each of the Defendant Drug Manufacturers have conducted and participated in
the affairs of the particular PBM Enterprises through a pattern of racketeering activity,
including acts that are indictable under 18 U.S.C. § 1341, relating to mail fraud, and 18 U.S.C.
§ 1343, relating to wire fraud. These Defendants’ pattern of racketeering likely involved
thousands, if not hundreds-of-thousands, of separate instances of use of the U.S. mails or
interstate wire facilities in furtherance of their AWP Scheme. Each of these fraudulent
mailings and interstate wire transmissions constitutes a “racketeering activity” within the
meaning of 18 U.S.C. § 1961(1). Collectively, these violations constitute a “pattern of
racketeering activity” within the meaning of 18 U.S.C. § 1961(5) in which the Defendant Drug
Manufacturers intended to defraud Plaintiffs, the members of Class 2 and other intended
victims of the AWP Scheme.

442. The Defendants Drug Manufacturers’ fraudulent and unlawful AWP Scheme
consisted, in part, of deliberately overstating the AWPs for their brand name drugs, thereby
creating a “spread” based on the inflated figure in order to induce the PBMs to advocate and
favor that manufacturer’s brand name drugs to the members of that PBM’s clients. Further, the
PBMs would bill their clients for the Defendant Drug Manufacturers’ brand name drugs based
on the inflated AWPs, which did not reflect the true price paid by the PBMs for the brand name
drugs.

443, The AWP Scheme was calculated and intentionally crafted so as to ensure that
Plaintiffs and the members of Class 2 would be over-billed for the drugs. In designing and
implementing this scheme, at all times these Defendants were cognizant of the fact that
Plaintiffs and the members of Class 2 rely upon the honesty of the Defendant Drug
Manufacturers in setting the AWP as reported by the Publishers.

444, By intentionally and artificially inflating the AWPs and by providing the PBMs

with unlawful financial inducements to advocate their particular drugs, and by subsequently

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failing to disclose such practices to the individual patients and their insurers, the Defendant
Drug Manufacturers engaged in a fraudulent and unlawful course of conduct constituting a
pattern of racketeering activity.

445. Defendants’ racketeering activities amounted to a common course of conduct,
with similar pattern and purpose, intended to deceive Plaintiffs and the members of Class 2.
Each separate use of the U.S. mails and/or interstate wire facilities employed by the Defendants
was related, had similar intended purposes, involved similar participants and methods of
execution, and had the same results affecting the same victims, including Plaintiffs and the
members of Class 2. Each of the Defendants has engaged in the pattern of racketeering activity
for the purpose of conducting the ongoing business affairs of its particular PBM Enterprise.

The Defendants’ Motive

446. The Defendant Drug Manufacturers’ motive in creating and operating the AWP
Scheme and conducting the affairs of the PBM Enterprises described herein was to fraudulently
obtain sales of and profits from their brand name drugs.

447. The AWP Scheme was designed to, and did, encourage others, including
providers, to advocate the use of the Defendant Drug Manufacturers’ brand name drugs. Thus,
each Defendant Drug Manufacturer used the scheme to sell more of its drugs, thereby
fraudulently gaining sales and market share and profits.

Damages Caused By Defendants’ AWP Scheme

448. The Defendant Drug Manufacturers’ violations of federal law and their pattern
of racketeering activity have directly and proximately caused Plaintiffs and the members of
Class 2 to be injured in their business or property because Plaintiffs and the members of Class 2
have paid many millions of dollars in inflated reimbursements or other payments for brand
name drugs.

449, Defendants sent billing statements through the U.S. mails or by interstate wire

facilities and reported AWPs and other information by the same methods in furtherance of their

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AWP Scheme. Plaintiffs and the members of Class 2 have made inflated payments for Covered
Drugs based on and/or in reliance on reported and false AWPs.

450. Under the provisions of Section 1964(c) of RICO, Defendants are jointly and
severally liable to Plaintiffs and members of Class 2 for three times the damages that Plaintiffs
and the Class 2 members have sustained, plus the costs of bringing this suit, including

reasonable attorneys’ fees.

COUNT V
VIOLATIONS OF CONSUMER PROTECTION STATUTES

451. Plaintiffs, on behalf of themselves and all others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this Complaint.

452. Defendants are incorporated, or maintain their principal places of business, in
either Califormia, Delaware, Illinois, New Jersey, Pennsylvania or Washington. In addition,
individual Patient and Third-Party Payor Plaintiffs reside in either California, Florida, New
York, Minnesota, Louisiana, Pennsylvania or Texas. Each of these states has enacted statutes
to protect consumers against unfair, deceptive or fraudulent business practices, unfair
competition and false advertising. The statutes of these states, legally and substantively

common, provide consumers with a private right of action, as follows:

California: Cal. Civ. Code §§ 1750, Bus. & Prof. Code § 17200, et
seq. and 17500, et seq.

Delaware: 6 Del. Code §§ 2511-2537

Florida: Fla, Stat. Stat. §§ 501.201-501.213

Illinois: 815 ILCS § 505/1, et seq.

Louisiana: La. Rev. Stat. Ann. § 51:1405

Minnesota: Minn. Stat. Ann. §§ 325D.09 - 325D.16, § 325F.67 - 69

New Jersey: N.J. Stat. Ann. §§ 56:8-1 - 56:8-24

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New York: N.Y. Gen. Bus. L. §§ 349-350
Pennsylvania: 73 Pa. Stat. § 201-1 et seq.

Texas: Tex. Bus. & Com. Code §§ 17.41 B 17.63
Washington: RCW 19.86.010, ef seq.

These statutes do not require a showing of either scienter or individual reliance.

453. Defendants’ conduct, as alleged in this Complaint, constitutes unfair and
deceptive acts or practices, unconscionable practices, fraud, false pretense, false promise,
misrepresentation, concealment, suppression or omission of material fact in violation of these

statutes. Defendants’ continuing violations include:

(a) Failing to disclose material facts in the conduct of
trade or commerce in that they have not disclosed that the AWP
does not reflect the true average wholesale price of the drugs they
sell, and that the published AWPs are instead deliberately inflated
in order to (1) increase the prices paid by Plaintiffs and the
members of the Classes; (2) increase the profitability of the
Defendant Drug Manufacturer’s drugs to the providers who
prescribe or dispense them, and to the other intermediaries that
promote them; and thereby (3) increase Defendants’ market
shares and profits;

(b) Making false or misleading statements of fact
concerning the price of goods in that they have not reported the
true AWP paid for their medications in order to accomplish the
goals described above;

(c) Knowingly making false representations in a
transaction by representing that the AWP is an accurate reflection
of the average wholesale price paid for their drugs when AWP is,
in reality, a fictitious and inflated amount;

(d) Publishing fictitious and inflated AWPs in the Red
Book and other publications; and

(e) Encouraging Medicare Part B providers to use drugs based upon

the “spread” as opposed to medicines being prescribed based on medical
reasons.

454. Defendants willfully engaged in such practices knowing them to be deceptive

and with the intent that Plaintiffs and the Class would rely thereon.

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455. The wrongful conduct alleged in this Complaint occurs, and continues to occur,
in the ordinary course of Defendants’ business or occupation and has caused great harm to
Plaintiffs and the Class, who were foreseeable and direct victims.

456. Defendants have injured the public interest, and Defendants’ actions continue to
pose a threat to the public.

457. Asa direct and legal result of Defendants’ misleading, deceptive, unfair, false

and fraudulent trade practices, Plaintiffs and the Class have sustained damages.

COUNT VI
DECLARATORY AND OTHER RELIEF PURSUANT TO 28 U.S.C. §§ 2201, 2002

(AGAINST DEFENDANT DRUG MANUFACTURERS FOR UNLAWFUL CONDUCT
ASSOCIATED WITH MEDICARE PART B COVERED DRUGS)

458. Plaintiffs, on behalf of themselves and all others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this Complaint.

459. An actual case and controversy exists between the Plaintiffs and each of the
Defendant Drug Manufacturers with respect to the Defendant Drug Manufacturers’ conduct of
inflating the published reimbursement rates for drugs covered under Medicare Part B. The
Plaintiffs contend that setting stated reimbursement prices above the actual average wholesale
price for Covered Drugs is unlawful, and that each Defendant Drug Manufacturer does so in
violation of applicable law, knowing that Medicare beneficiaries and their insurers will incur
similarly inflated substantial co-payments for drugs under Medicare Part B.

460. Each Defendant Drug Manufacturer contends to the contrary. Each of the
Defendant Drug Manufacturers, either by itself or through groups or its trade association,
contend that they may exploit the Medicare reimbursement system without limit, and regardless

of its effect on Medicare beneficiaries and their insurers.

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461. The Plaintiffs, on behalf of themselves, their constituent members and all others
similarly situated, are entitled to a judgment declaring that the practice of the Defendant Drug
Manufacturers of inflating stated reimbursement rates for drugs covered under Medicare Part B

is unlawful, and are entitled to further relief pursuant to 28 U.S.C. § 2202.

COUNT Vit
DECLARATORY AND OTHER RELIEF PURSUANT TO 28 U.S.C. §§ 2201, 2002
(AGAINST DEFENDANT DRUG MANUFACTURERS (EXCLUDING THE
BOEHRINGER GROUP, BRAUN, DEY, FUJISAWA AND WATSON DEFENDANTS)

FOR UNLAWFUL CONDUCT ASSOCIATED WITH BRAND NAME PRESCRIPTION
DRUGS ADMINISTERED OUTSIDE OF THE MEDICARE PART B CONTEXT)

462. Plaintiffs, on behalf of themselves and all others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this Complaint.

463. An actual case and controversy exists between the Plaintiffs and each of the
Defendant Drug Manufacturers with respect to the Defendant Drug Manufacturer’s conduct of
deliberately overstating the AWPs for their brand name drugs, thereby creating a “spread”
based on the inflated figure to induce intermediaries to advocate and favor that manufacturer’s
brand name drugs. Plaintiffs contend that this conduct is unlawful, and that each Defendant
engages in this conduct in violation of applicable law, knowing that Plaintiffs and the members
of the Class will incur inflated payments for brand name drugs.

464. Each Defendant contends to the contrary. Each Defendant, either by itself or
through groups or its trade association, contends that it may exploit the drug pricing system
without limit, and regardless of its effect on Plaintiffs and the Class.

465. The Plaintiffs, on behalf of themselves, their constituent members and all others
similarly situated, are entitled to a judgment declaring that these practices are unlawful, and are

entitled to further relief pursuant to 28 U.S.C. § 2202.

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VIII. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that:

A. The Court determine that this action may be maintained as a class action
pursuant to Rule 23(b)(2) of the Federal Rules of Civil Procedure with respect to Plaintiffs’
claims for declaratory, equitable and injunctive relief, and Rule 23(b)(3) of the Federal Rules of
Civil Procedure with respect to the claims for damages, and declaring Plaintiffs as
representatives of the Class and their counsel as counsel for the Class;

B. The conduct alleged herein be declared, adjudged and decreed to be unlawful in
violation of RICO and the unfair and deceptive trade practices acts set forth above;

C. Plaintiffs and the Class be granted an award of damages in such amount to be
determined at trial, with trebling under Counts III and IV;

D. Plaintiffs and the Class be granted an award of punitive damages in such amount
to be determined at trial;

E. Defendants be enjoined from continuing the illegal activities alleged herein;

F. Plaintiffs and the Class recover their costs of suit, including reasonable
attorneys’ fees and expenses as provided by law; and

G. Plaintiffs and the Class be granted such other, further, and different relief as the

nature of the case may require or as may be determined to be just, equitable, and proper by this

Court.

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IX. DEMAND FOR JURY TRIAL

Plaintiffs demand jury trial on alli o triable.

By DATED: September 6, 2002.

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